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                                                              United States Bankruptcy Court
                                                                Southern District of Texas
In re:                                                                                                                 Case No. 20-32519-drj
Neiman Marcus Group LTD LLC                                                                                            Chapter 11
Mariposa Intermediate Holdings LLC
       Debtor(s)
                                                     CERTIFICATE OF NOTICE
District/off: 0541-4                                                  User: emiller                                                              Page 1 of 8
Date Rcvd: Dec 08, 2020                                               Form ID: pdf002                                                         Total Noticed: 190
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.

++               Addresses marked '++' were redirected to the recipient's preferred mailing address pursuant to 11 U.S.C. 342(f)/Fed.R.Bank.P.2002(g)(4).

#                Addresses marked '#' were identified by the USPS National Change of Address system as requiring an update. While the notice was still deliverable,
                 the notice recipient was advised to update its address with the court immediately.

##               Addresses marked '##' were identified by the USPS National Change of Address system as undeliverable. Notices will no longer be delivered by
                 the USPS to these addresses; therefore, they have been bypassed. The debtor's attorney or pro se debtor was advised that the specified notice was
                 undeliverable.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Dec 10, 2020:
Recip ID                   Recipient Name and Address
db                     +   BG Productions, Inc., 745 Fifth Avenue, New York, NY 10151-0099
db                     +   Bergdorf Goodman Inc., 745 Fifth Avenue, New York, NY 10151-0098
db                     +   Bergdorf Graphics, Inc., 754 Fifth Avenue, New York, NY 10019-2503
db                     +   Mariposa Borrower, Inc., One Marcus Square, 1618 Main Street, Dallas, TX 75201-4720
db                     +   Mariposa Intermediate Holdings LLC, 2000 Avenue of the Stars, Los Angeles, CA 90067-4700
db                         NEMA Beverage Corporation, One Marcus Square, Dallas, TX 75201
db                     +   NEMA Beverage Holding Corporation, One Marcus Square, 1618 Main Street, Dallas, TX 75201-4720
db                     +   NEMA Beverage Parent Corporation, One Marcus Square, 1618 Main Street, Dallas, TX 75201-4720
db                     +   NM Bermuda, LLC, One Marcus Square, 1618 Main Street, Dallas, TX 75201-4720
db                     +   NM Financial Services, Inc., 3200 Las Vegas Boulevard, Las Vegas, NV 89109-2612
db                     +   NM Nevada Trust, One Marcus Square, 1618 Main Street, Dallas, TX 75201-4720
db                         NMG California Salon LLC, One Marcus Square, 16181Main Street, Dallas, TX 75201
db                     +   NMG Florida Salon LLC, One Marcus Square, 1618 Main Street, Dallas, TX 75201-4720
db                     +   NMG Global Mobility, Inc., One Marcus Square, 1618 Main Street, Dallas, TX 75201-4720
db                     +   NMG Notes PropCo LLC, One Marcus Square, 1618 Main Street, Dallas, TX 75201-4720
db                     +   NMG Salon Holdings, LLC, One Marcus Square, 1618 Main Street, Dallas, TX 75201-4720
db                     +   NMG Salons LLC, One Marcus Square, 1618 Main Street, Dallas, TX 75201-4720
db                     +   NMG Term Loan PropCo LLC, One Marcus Square, 1618 Main Street, Dallas, TX 75201-4720
db                     +   NMG Texas Salon LLC, One Marcus Square, 1618 Main Street, Dallas, TX 75201-4720
db                     +   NMGP, LLC, One Marcus Square, 1618 Main Street, Dallas, TX 75201-4720
db                     +   Neiman Marcus Group LTD LLC, One Marcus Square, 1618 Main Street, Dallas, TX 75201-4720
db                     +   The NMG Subsidiary LLC, One Marcus Square, 1618 Main Street, Dallas, TX 75201-4720
db                     +   Worth Avenue Leasing Company, One Marcus Square, 1618 Main Street, Dallas, TX 75201-4720
aty                    +   Adam L Rosen, Adam L. Rosen PLLC, 2-8 Haven Ave Stel 220, Port Washington, NY 11050-3614
aty                    +   Caitlin A Halpern, Gibbs Bruns LLP, 1100 Louisiana, Ste 5300, Houston, TX 77002-5215
aty                    +   Cliff Palefsky, McGuinn, HIllsman & Palefsky, 535 Pacific Ave, San Francisco, CA 94133-4628
aty                    +   Eric Leon, Latham & Watkins LLP, 885 Third Avenue, New York, NY 10022-4874
aty                    +   Ernie Zachary Park, Bewley Lassleben and Miller LLP, 13215 E. Penn St, Ste 510, Whittier, CA 90602-1797
aty                    +   Eugene C Kelley, Kelley Polishan & Solfanelli, LLC, 259 S Keyser Avenue, Old Forge, PA 18518-1177
aty                    +   H. Howard Browne, 100 SAS Campus Drive, Cary, NC 27513-2414
aty                    +   Jordan D Weiss, 1350 Broadway, Suite 1420, New York, NY 10018-7714
aty                    +   Judy D. Thompson, JD Thompson Law, PO Box 33127, Charlotte, NC 28233-3127
aty                    +   Keith Ehrman, McGuinn, Hillsman & Palefsky, 535 Pacific Avenue, San Francisco, CA 94133-4628
aty                        Leonard M Weiner, Law Office of Leonard M. Weiner LLC, New York, NY 10016
aty                    +   Linda D Reece, Perdue, Brandon, Fielder, Collins & Mott, 1919 S. Shiloh Rd., Suite 310, Garland, TX 75042-8293
aty                    +   Matthew J. Murray, Altshuler Berzon LLP, 177 Post Street, Suite 300, San Francisco, CA 94108-4797
aty                    +   Michael Nicolella, Orrick, Herrington & Suticliffe LLP, 2121 Main St, Wheeling, WV 26003-2809
aty                    +   Michael T Driscoll, Sheppard Mullin Richter, 30 Rockefeller Plaza, New York, NY 10112-0079
aty                    +   Nicholas M. Miller, McDonald Hopkins LLC, 300 N. LaSalle, Suite 1400, Chicago, IL 60654-3474
aty                    +   Olivera Medenica, Dunnington Batholow & Miller LLP, 230 Park Avenue, 21st Floor, New York, NY 10169-2403
               Case 20-32519 Document 2139 Filed in TXSB on 12/10/20 Page 3 of 9
District/off: 0541-4                                           User: emiller                                                            Page 2 of 8
Date Rcvd: Dec 08, 2020                                        Form ID: pdf002                                                       Total Noticed: 190
aty             +    Robert S. Friedman, Sheppard Mullin Richter and Hampton, 30 Rockefeller Plaza, New York, NY 10112-0079
cr              +    360i, LLC, Underwood Perkins, PC, 5420 LBJ Freeway, Suite 1900, Dallas, TX 75240-6230
cr              +    64 Facets, Inc., c/o Susan C. Mathews, Baker Donelson, 1301 McKinney St., Suite 3700, Houston, TX 77010-3034
cr              +    A. Link Jewelry Co., LLC, c/o Susan C. Mathews, Baker Donelson, 1301 McKinney St., Suite 3700, Houston, TX 77010-3034
cr              +    AJD Platinum Inc. d/b/a American Jewelry Designs, c/o Foley Mansfield, 250 Marquette Ave., Suite 1200, Minneapolis, MN 55401-1874
cr                   Accertify, Inc, c/o Becket and Lee LLP, PO Box 3002, Malvern, PA 19355-0702
intp            +    Ad Hoc Group of Term Loan Lenders, 1001 Fannin St., Suite 2500, Houston, TX 77002-6710
cr                   Alanui SRL, Via Manin 13, Milano (MI), 20121, ITALY
cr              #+   American Electric Power, c/o Weldon L. Moore, III, Sussman & Moore, LLP, 4645 N. Central Expressway, Ste. 300, Dallas, TX
                     75205-7326
cr              +    Ann Keenes, 38945 Palm Valley Drive, Palm Desert, CA 92211-5060
cr              +    Ann P. Stordahl, 3712 Cragmont Avenue, Dallas, TX 75205-4313
cr              +    Ariela E. Shani, 12349 Deer Mountain Boulevard, Kamas, UT 84036-9336
cr              +    BMC Software, Inc., 2101 CityWest Blvd., Houston, Tx 77042-2828
intp            +    Baker Donelson Bearman Caldwell & Berkowitz, 1301 McKinney St., Suite 3700, Houston, TX 77010-3034
cr              +    Bally Americas, Inc., c/o Lowenstein Sandler LLP, Attn: Jeffrey Prol, Esq., Attn: Bruce S. Nathan, Esq., One Lowenstein Drive Roseland,
                     NJ 07068-1740
cr              +    Barbara Boettigheimer, 24 Glenmeadow Place, Dallas, TX 75225-2081
cr              +    Bernard D. Feiwus, 3516 Twin Lakes Way, Plano, TX 75093-7555
cr              +    Beth Pine, 812 Harbour Isles Place, North Palm Beach, FL 33410-4408
cr              +    Bexar County, 112 E. Pecan St., Suite 2200, San Antonio, TX 78205-1588
cr              +    Bill L. Earnheart, 847 Chalfont Place, Coppell, TX 75019-2877
cr              +    Bill Williams, 1200 Beach Drive, #207, Gulfport, MS 39507-1407
cr              +    Billy Payton, 6338 Meadow Road, Dallas, TX 75230-5141
cr              +    CMS Payments Intelligenc, Inc., c/o Stromberg Stock, PLLC, 8350 N Central Expy, Ste 1225, Dallas, TX 75206-1600
cr              +    CRG Financial LLC, 100 Union Avenue, Cresskill, NJ 07626-2141
cr              +    Canon Financial Services, Inc., Platzer, Swergold, Levine, et al., c/o Teresa Sadutto-Carley, 475 Park Avenue, South, 18th Floor New
                     York, NY 10016-6901
cr              +    Catherine Goddard, 5816 Sky Park Drive, Plano, TX 75093-4538
cr              +    City of Grapevine, Grapevine-Colleyville ISD, Dallas Utility and Reclamation District, c/o EBONEY COBB, 500 E. Border Street, Suite
                     640, Arlington, TX 76010-7457
cr               +   City of Katy, c/o Owen M. Sonik, PBFCM, LLP, 1235 North Loop West, Suit 600, Houston, TX 77008-1772
cr               +   Colby McWilliams, 3921 Inwood Road #1012, Dallas, TX 75209-5755
cr              #+   Commonwealth Edison Company, c/o Weldon L. Moore, III, Sussman & Moore, LLP, 4645 N. Central Expressway, Ste. 300, Dallas, TX
                     75205-7326
cr              #+   Consolidated Edison Company of New York, Inc., c/o Weldon L. Moore, III, Sussman & Moore, LLP, 4645 N. Central Expressway, Ste.
                     300, Dallas, TX 75205-7326
cr                   Cynthia Marcus Bolene, 326 E. Colorado Road, Santa Fe, NM 87505
cr              +    Dallas County, Linebarger Goggan Blair & Sampson, LLP, c/o Elizabeth Weller, 2777 N. Stemmons Freeway, Suite 1000 Dallas, TX
                     75207-2328
cr              +    David Hargreaves, 29 Hidden Glen Road, Scarsdale, NY 10583-1230
cr              +    Davidson Kempner Capital Management LLC, c/o Patricia B. Tomasco, 711 Louisiana, Suite 500, Houston, TX 77002-2721
cr              +    Deborah A. McGinnis, 40 Marina Gardens Drive, Palm Beach Gardens, FL 33410-3503
cr                   Dell Marketing, L.P., c/o Streusand Landon Ozburn & Lemmon, 1801 S. MoPac Expressway, Suite 320, Austin, TX 78746
cr              #+   Florida Power & Light Company, c/o Weldon L. Moore, III, Sussman & Moore, LLP, 4645 N. Central Expressway, Ste. 300, Dallas, TX
                     75205-7326
cr               +   Four Hands LLC, Richards Rodriguez & Skeith, 816 CONGRESS AVENUE, SUITE 1200, AUSTIN, TX 78701-2672
intp             +   Gene Baldwin, c/o Husch Blackwell, Buffey Klein, 1900 N. Pearl Street, Suite 1800, Dallas, TX 75201-2467
cr               +   George E. Maas, 3412 Emerald Cove Drive, Flower Mound, TX 75022-7852
cr              #+   Georgia Power Company, c/o Weldon L. Moore, III, Sussman & Moore, LLP, 4645 N. Central Expressway, Ste. 300, Dallas, TX
                     75205-7326
cr              +    Greg M. Voorhis, 1110 Campbell Avenue, Wheaton, IL 60189-6506
cr              +    Gregg County, Linebarger Goggan Blair & Sampson, LLP, c/o Elizabeth Weller, 2777 N. Stemmons Frwy Ste 1000, Dallas, TX
                     75207-2328
cr              +    Gregory G. Shields, 16798 Malibu Drive, Flint, TX 75762-9231
cr              +    Hazel Wyatt, 612 Garcia Street, Santa Fe, NM 87505-2858
cr              +    Hila M. Ekelman, 3621 Turtle Creek Boulevard, #3B, Dallas, TX 75219-5548
cr              +    Hilldun Corporation, c/o Lowenstein Sandler LLP, Attn: Jeffrey Prol, Esq., Attn: Bruce Nathan, Esq., One Lowenstein Drive Roseland, NJ
                     07068-1740
cr              +    IProspect.com, Inc., Underwood Perkins, PC, 5420 LBJ Freeway, Suite 1900, Dallas, TX 75240-6230
cr              +    ISS Facility Services, Inc., c/o Allen M. DeBard, Langley & Banack, Inc., 745 E. Mulberry Avenue, Ste. 700 San Antonio, Tx 78212-3172
cr              +    Ignaz Gorischek, 9502 Bill Browne Lane, Dallas, TX 75243-6203
cr              +    Iron Mountain Information Management, Inc., c/o Frank F. McGinn, Esq., Hackett Feinberg P.C., 155 Federal Street, 9th Floor, Boston,
                     MA 02110-1610
cr              +    JM-BMM LLC, c/o Adam L. Rosen PLLC, 2-8 Haven Avenue, Ste 220, Port Washington, NY 11050-3636
intp            +    James Scott Douglass, 1811 Bering Dr., Suite 420, Houston, TX 77057-3186
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District/off: 0541-4                                         User: emiller                                                         Page 3 of 8
Date Rcvd: Dec 08, 2020                                      Form ID: pdf002                                                    Total Noticed: 190
cr               +   Jeanie D. Galvin, 6822 Westlake Avenue, Dallas, TX 75214-3445
cr               +   Jemma Wynne Jewellery, LLC, c/o Susan C. Mathews, Baker Donelson, 1301 McKinney St., Suite 3700, Houston, TX 77010-3034
cr               +   Jennifer H. Robinson, 5428 Richard Avenue, Dallas, TX 75206-6714
cr              #+   Jersey Central Power & Light Company, c/o Weldon L. Moore, III, Sussman & Moore, LLP, 4645 N. Central Expressway, Ste. 300,
                     Dallas, TX 75205-7326
cr              +    Jimmy R. Howell, 4306 Windrush Boulevard, Longview, TX 75604-0601
cr              +    Jo Lynn Payton, 6338 Meadow Road, Dallas, TX 75230-5141
cr              +    Joan M. Kaner, 1771 Ringling Boulevard, Unit 1005, Sarasota, FL 34236-6870
cr              +    John Martens, 1309 Cordell Place, Los Angeles, CA 90069-1721
cr              +    John R. Weiler, 235 Chenery Street, San Francisco, CA 94131-2764
cr              +    Joseph E. McElroy, 834 NE 14th Place, Fort Lauderdale, FL 33304-1232
cr              +    Joseph P. Feczko, 1241 Fairfield Beach Road, Fairfield, CT 06824-6516
cr                   Julia Beren-Sosnick, 1000 Abrams Street, Hollywood, FL 33019
cr              +    KONE, Inc., 4225 Naperville Road, Naperville, IL 60532-3699
cr              +    Kellermeyer Bergensons Services, LLC, 1575 Henthorne Dr., Maumee, OH 43537-1385
intp            +    Kyung S. Lee, 22 Blooming Grove Lane, Houston, TX 77077-1955
cr              +    L&B Depp Inwood Village, L.P., c/o Will Bassham, 3333 Lee Parkway, Eighth Floor, Dallas, TX 75219-5111
cr              +    LCFRE Austin Brodie Oaks, LLC, Sprouse Law Firm, 401 Congress Avenue, Suite 1540, Austin, TX 78701-3851
cr              +    Lana and Nathaniel Grey d/b/a Lomden Estate, c/o Susan C. Mathews, Baker Donelson, 1301 McKinney Street, Ste 3700, Houston, TX
                     77010-3034
cr              +    Larry Neal Skinner, 3320 Starlight Trail, Plano, TX 75023-6138
cr              +    Lawrence Elkin, 1690 Foard Drive, Frisco, TX 75034-1829
cr              +    Leslie L. Freytag, 2051 Broadleaf Court, Wenatchee, WA 98801-8212
cr              +    Lexon Insurance Company and Endurance Assurance Co, c/o Harris Beach PLLC, Lee E. Woodard, Esq., 333 West Washington St., Ste.
                     200, Syracuse, NY 13202-9204
cr              +    Lisa Kazor, c/o Quilling, Selander, Lownds, et al, Attn: Timothy A. York, 2001 Bryan Street, Suite 1800 Dallas, TX 75201-3071
cr              +    Lomden Distributors, Inc., c/o Susan C. Mathews, Baker Donelson, 1301 McKinney Street, Ste 3700, Houston, TX 77010-3034
cr              +    Lyndy Carreiro, 1332 Sealawn Boulevard, Freeland, WA 98249-9778
cr              +    Lynn C. Roberts Hoover, 3930 NW 27th Terrace, Boca Raton, FL 33434-4452
cr             ++    MIAMI DADE COUNTY TAX COLLECTOR, ATTN WENDY MONTOYA, 200 NW 2ND AVENUE, MIAMI FL 33128-1733 address
                     filed with court:, Miami-Dade County Tax Collector, Peter K. Cam, Tax Collector, 200 NW 2ND Avenue, #430, Miami, FL
intp            +    Marit Baldwin, c/o Husch Blackwell, Buffey Klein, 1900 N. Pearl Street, Suite 1800, Dallas, TX 75201-2467
cr              +    Mark Boraski, 2710 Green Oak Court, Highland Village, TX 75077-8661
cr              +    Marvette Johnson Gattman, 3259 King George Drive, Orlando, FL 32835-5903
cr              +    Mary B. Wenner, 4051 Killion Drive, Dallas, TX 75229-6226
cr              +    Mary Hill, 3275 Schlottmann Road, Brenham, TX 77833-7549
cr              +    Mattia Cielo, Inc., c/o Barclay Damon LLP, Attn: Robert K. Gross, 1270 Avenue of the Americas, Suite 501 New York, NY 10020-1702
cr                   Nanushka International Zrt., Rakoczi ut 42., V. Floor, Budapest, 1072, HUNGARY
cr               +   Nicola Tamburrino, 16415 Amberwood Road, Dallas, TX 75248-2815
cr              #+   Nstar Electric Compa Western Nstar Electric Compan, c/o Weldon L. Moore, III, Sussman & Moore, LLP, 4645 N. Central Expressway,
                     Ste. 300, Dallas, TX 75205-7326
intp            +    Office of Unemployment Compensation Tax Services, c/o Deb Secrest, 651 Boas Street, Room 702, Harrisburg, PA 17121-0751
cr              +    Oracle America, Inc., Buchalter, A Professional Corporation, c/o Shawn M. Christianson, 55 2nd St. 17th Fl., San Francisco, CA
                     94105-3493
cr              #+   Orlando Utilities Commission, c/o Weldon L. Moore, III, Sussman & Moore, LLP, 4645 N. Central Expressway, Ste. 300, Dallas, TX
                     75205-7326
cr                   PA Department of Revenue, Bureau of Compliance, PO Box 280946, Harrisburg, PA 17128-0946
cr              +    PLDSPE, LLC, c/o Faegre Drinker Biddle & Reath LLP, 1717 Main Street Suite 5400, Dallas, TX 75201-7367
cr              +    Pat Morgan-McEvoy, 3817 Stratford Avenue, Dallas, TX 75205-2814
cr              +    Peggy L. Trowbridge, 2220 Canton, #408, Dallas, TX 75201-5928
cr              +    Photon Interactive Services, Inc., 12300 Ford Road, B#270, c/o Sanjiv Lochan, Dallas, TX 75234-8132
cr              +    Prime Chevy Chase Asset I LLC, Attn: Kevin J. Nash, Esq., Goldberg et al LLP, 1501 Broadway, 22nd Floor, New York, NY 10036-5686
cr              +    RBC 100 LLC D/B/A ROBERTO COIN CENTO COLLECTION, 579 5th Avenue, Floor 17, New York, NY 10017-8760, UNITED
                     STATES 10017-8760
cr              +    Rachel A. Goldberg, 3140 Harvard Avenue, #1207, Dallas, TX 75205-3723
cr              +    Richard Bowes, 2100 South Ocean Drive, #11F, Fort Lauderdale, FL 33316-3818
cr              +    Richard Samuelson, 5927 Prospect Avenue, Dallas, TX 75206-7241
cr              +    Richline Group, Inc., c/o Susan C. Mathews, Baker Donelson, 1301 McKinney St., Suite 3700, Houston, TX 77010-3034
cr              +    Riverwalk Marketplace (New Orleans) LLC, c/o Howard Marc Spector, Spector & Cox, PLLC, 12770 Coit Road, Suite 1100 Dallas, TX
                     75251-1329
cr              +    Robert Browning, c/o Vanguard Law, PO Box 939, Poulsbo, WA 98370, UNITED STATES 98370-0017
cr              +    Robert E Ackerman, 4439 Fairfax Avenue, Dallas, TX 75205-3005
cr              +    Robert K. Devlin, 5122 Morningside Drive, Apt. 601, Houston, TX 77005-2548
cr              +    Roberto Coin Inc., 579 5th Avenue, Floor 17, New York, NY 10017-8760, UNITED STATES 10017-8760
cr              +    Robin R. Fradin, P.O. Box 984, Carmel, CA 93921-0984
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District/off: 0541-4                                                  User: emiller                                                              Page 4 of 8
Date Rcvd: Dec 08, 2020                                               Form ID: pdf002                                                         Total Noticed: 190
cr                     +   Ron Goddard, 5816 Sky Park Drive, Plano, TX 75093-4538
cr                     +   Rudd C. Johnson, 1815 Crown Avenue, Medford, OR 97504-7617
cr                     +   Ryan, LLC, c/o Bell Nunnally & Martin LLP, 2323 Ross Avenue, Suite 1900, Dallas, TX 75201-2721
cr                    #+   Salt River Project, c/o Weldon L. Moore, III, Sussman & Moore, LLP, 4645 N. Central Expressway, Ste. 300, Dallas, TX 75205-7326
cr                    #+   San Diego Gas and Electric Company, c/o Weldon L. Moore, III, Sussman & Moore, LLP, 4645 N. Central Expressway, Ste. 300, Dallas,
                           TX 75205-7326
cr                     +   Santina Kornajcik, 6944 Santa Barbara Drive, Dallas, TX 75214-2561
cr                     +   Scott Howard Fradin, P.O. Box 984, Carmel, CA 93921-0984
cr                     +   Sharen J. Turney, One Bottomley Crescent, New Albany, OH 43054-8965
cr                     +   Simon Property Group, Inc., Attn: Ronald M. Tucker, Esq., 225 West Washington Street, Indianapolis, IN 46204-3438
cr                     +   Sonia Chae United States Securities & Exchange Com, 175 W. Jackson Blvd., Suite 1450, Chicago, IL 60604-2710
cr                    #+   Southern California Gas Company, c/o Weldon L. Moore, III, Sussman & Moore, LLP, 4645 N. Central Expressway, Ste. 300, Dallas, TX
                           75205-7326
cr                     +   Stacy J. Staiger, 561 Columbia Drive, Prosper, TX 75078-8765
intp                       State of Texas, c/o Texas Attorney General's Office, Bankruptcy & Collections Division, P. O. Box 12548 MC-008, Austin, TX
                           78711-2548
cr                     +   Steven Kornajcik, 6944 Santa Barbara Drive, Dallas, TX 75214-2561
op                     +   Stretto, 410 Exchange, Suite 100, Irvine, CA 92602-1331
cr                     +   Sysco Corporation, c/o Stromberg Stock, PLLC, 8350 N Central Expy, Ste 1225, Dallas, TX 75206-1600
cr                     +   TOCKR LLC, 809 Avenue J, Marble Falls, TX 78654-5161
cr                     +   TR Pinnacle Corp, c/o Brian Smith, Holland & Knight LLP, 200 Crescent Court, Suite 1600, Dallas, TX 75201-1829
cr                     +   Tarrant County, Linebarger, Goggan, Blair & Sampson, LLP, c/o Elizabeth Weller, 2777 N. Stemmons Frwy Ste 1000, Dallas, TX 75207
                           UNITED STATES 75207-2328
cr                     +   Taubman Landlords, The Taubman Landlords, c/o Andrew S. Conway, Esq., 200 East Long Lake Road, Suite 300 Bloomfield Hills, MI
                           48304-2324
cr                     +   Terri Anne Monsour, 5651 Benevento Court, Las Vegas, NV 89141-3978
cr                         Texas Comptroller of Public Accounts, Courtney J. Hull, P.O. Box 12548, Austin, TX 78711-2548
intp                       Texas Comptroller of Public Accounts, Unclaimed Pr, c/o Attorney General's Office, Bankruptcy & Collections Division, P. O. Box 12548
                           MC-008, Austin, TX 78711-2548
intp                   +   The Disinterested Manager of Mariposa Intermediate, 575 Madison Avenue, New York, NY 10022, UNITED STATES 10022-2511
cr                    #+   The Potomac Electric Power Company, c/o Weldon L. Moore, III, Sussman & Moore, LLP, 4645 N. Central Expressway, Ste. 300, Dallas,
                           TX 75205-7326
cr                     +   The Shops At The Bravem LLC, Attn: Kevin J. Nash, Esq., Goldberg et al LLP, 1501 Broadway, 22nd Floor, New York, NY 10036-5686
cr                     +   Thomas P. Stangle, 5917 Kensington Drive, Plano, TX 75093-4796
cr                     +   Thomas P. Wensinger, 111 Oak Glen, San Antonio, TX 78209-2332
cr                     +   Tom Lind, 300 Summit Loop, Wimberley, TX 78676-5745
cr                     +   Tracy A. Bradford, 511 Stonebury Drive, Southlake, TX 76092-6917
cr                     +   Travis County, c/o Jason A. Starks, P.O. Box 1748, Austin, TX 78767-1748
cr                     +   Virginia Ann Richardson, 1976 Cerros Colorados, Santa Fe, NM 87501-8334
cr                    #+   Virginia Electric and Power Company d/b/a Dominion, c/o Weldon L. Moore, III, Sussman & Moore, LLP, 4645 N. Central Expressway,
                           Ste. 300, Dallas, TX 75205-7326
cr                     +   Wayne Allen Hussey, 3840 Pawnee Pass North, Lakeway, TX 78738-1622
cr                     +   William Baum, 720 Hawks Ridge Drive, Ball Ground, GA 30107-6438
cr                     +   William R. Terry, Jr., 2221 Scarlet Rose Drive, Las Vegas, NV 89134-5905
intp                   +   Womble Bond Dickinson (US) LLP, 1313 N. Market Street, Ste. 1200, Wilmington, DE 19801-6103

TOTAL: 187

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                 Notice Type: Email Address                                     Date/Time                 Recipient Name and Address
cr                     + Email/Text: bankruptcy@abernathy-law.com
                                                                                        Dec 08 2020 21:01:00      COLLIN COUNTY TAX
                                                                                                                  ASSESSOR/COLLECTOR, Abernathy, Roeder,
                                                                                                                  Boyd & Hullett, P.C., 1700 Redbud Blvd., Suite
                                                                                                                  300, McKinney, TX 75069-3276
cr                         Email/Text: houston_bankruptcy@LGBS.com
                                                                                        Dec 08 2020 21:01:00      Fort Bend County, Linebarger Goggan Blair &
                                                                                                                  Sampson LLP, C/O John P. Dillman, P.O. Box
                                                                                                                  3064, Houston, TX 77253-3064
cr                         Email/Text: houston_bankruptcy@LGBS.com
                                                                                        Dec 08 2020 21:01:00      Harris County, Linebarger Goggan Blair &
                                                                                                                  Sampson LLP, C/O John P. Dillman, PO Box
                                                                                                                  3064, Houston, TX 77253-3064
cr                         Email/Text: wendy.montoya@miamidade.gov
                                                                                        Dec 08 2020 21:00:00      Miami-Dade County Tax Collector, Peter K. Cam,
                                                                                                                  Tax Collector, 200 NW 2ND Avenue, #430,
                                                                                                                  Miami, FL
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Date Rcvd: Dec 08, 2020                                           Form ID: pdf002                                                     Total Noticed: 190
TOTAL: 4


                                                    BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
Recip ID        Bypass Reason Name and Address
aty                           Selendy & Gay PLLC
tr                            Liquidating Trustee, Mohsin Meghji
tr                            Mohsin Meghji
tr                            Mohsin Meghji
cr                            1125 Globe Avenue LLC
cr                            18 Karat Appraisers InC
cr                            210 Muni, LLC
cr                            5th Avenue Salon LLC
cr                            737 North Michigan Avenue Retail Investors LLC
cr                            ACREG 5300 Wisconsin LLC
intp                          Ad Hoc Secured Noteholders Committee
cr                            Administrative Expense Creditors
intp                          Akin Gump Strauss Hauer & Feld LLP
cr                            Akris, Inc. and Akris Pret-a-Porter AG
cr                            Alejandra Gonzalez
intp                          Alter Domus Products Corp.
cr                            Amazon Web Services, Inc.
cr                            Amazon.com, Inc.
cr                            Ankura Trust Company, LLC
intp                          Annaly CRE LLC
intp                          Ares Management, L.P.
intp                          Arzz International Inc.
cr                            Bal Harbour Shops, LLC
cr                            Barracuda Networks Inc.
cr                            Barry Meyrowitz, Inc.
cr                            Beth Larson
intp                          Bicoastal Retail Ventures LLC
cr                            Boward County, Florida
intp                          Brigade Capital Management LP
cr                            Brookfield Properties Retail, Inc.
cr                            Brookfield Property REIT, Inc.
intp                          Brown Rudnick LLP, Seven Times Square, New York
cr                            Burberry Limited
intp                          CPP Investment Board USRE, Inc.
intp                          Calgary Albert Canada
cr                            Capital One, N.A.
cr                            Carolina Herrera LTD
cr                            Carrollton-Farmers Branch ISD,, City of Garland, Garland ISD,
cr                            Champion Energy Services, LLC
cr                            Chanel, Inc.
cr                            Clay Johnson
cr                            Cloudiyan, LLC
cr                            Cognizant Technology Solutions U.S. Corporation
cr                            Congressional Plaza Associates, LLC
cr                            Costis/Panjo Trading LLC
cr                            Coty Inc.
cr                            Credit Suisse AG, Cayman Islands Branch
cr                            Criteo Corp.
cr                            Crown Color US LLC
cr                            DG Premium Brands LLC
cr                            Dalpark Partners Ltd.
intp                          Daniel B Kamensky
cr                            Daniel Kamensky
cr                            David Gonzalez
cr                            David Yurman Enterprises LLC
cr                            Davidor, LLC
               Case 20-32519 Document 2139 Filed in TXSB on 12/10/20 Page 7 of 9
District/off: 0541-4                                       User: emiller                                     Page 6 of 8
Date Rcvd: Dec 08, 2020                                    Form ID: pdf002                                Total Noticed: 190
cr                        Delta Galil USA, Inc.
cr                        Determine, LLC
cr                        Deutsche Bank AG New York Branch
op                        Disinterested Manager of Neiman Marcus Group LTD L
cr                        Donna D. Denise
cr                        ELJM Consulting LLC
cr                        ERY Realty Podium, LLC
intp                      Edward Weisfelner, Brown Rudnick LLP, Seven Times Square, New York
cr                        Emsaru Jewels Corp.
cr                        Estee Lauder Companies
intp                      Etro USA, Inc.
cr                        Excel Elevator and Escalator Corporation
cr                        Faith Ann Kiely Inc
cr                        Federal Realty Investment Trust
cr                        Ferragamo USA Inc.
cr                        Fibernet Direct Texas LLC N/K/A Crown Castle Fiber
cr                        Franck Mueller USA Inc
cr                        Franck Muller USA, Inc.
cr                        Furla (U.S.A.), Inc.
cr                        G&C Stewart Corporation
cr                        Giorgio Armani Corporation
cr                        Google LLC
cr                        Gorski Group, Ltd.
cr                        Graphic Packaging International, LLC
cr                        Hanro, USA , Ltd.
cr                        Hitachi Vantara LLC
intp                      Hitachi Vantara LLC
intp                      Independent Managers of Neiman Marcus Group LTD LL
cr                        Infosys Limited
intp                      Interested Party
cr                        International Fidelity Insurance Company
cr                        J. Choo Limited
cr                        JM-BMM LLC
cr                        James Mabry
cr                        Jefferies Leveraged Credit Products, LLC
cr                        Jessica B. Weiland
cr                        Jo Marie Lilly
cr                        Jones Lang LaSalle Americas, Inc.
cr                        Karen Katz
cr                        Kering Americas, Inc. and affiliated brands
cr                        Kering Americas, Inc. and affiliated brands, LVMH
cr                        Kering Americas, Inc. and each of its affiliated b
cr                        Kering Americas, Inc. and its affiliated brands an
cr                        Keystone-Florida Property Holding Corp.
cr                        LVMH Moet Hennessy Louis Vuitton Inc. and certain
cr                        Lagos, Inc.
cr                        Lana Unlimited, Co.
cr                        Larry Skinner
cr                        Lieselotte Mesher, Stewart Mesher
cr                        Lombardi S.R.L.
cr                        Lorraine E. Schwartz, Inc.
cr                        Louis Vuitton USA Inc.
cr                        MRC Luxembourg S.A.R.L.
cr                        Maceoo, LLC
intp                      Manolo Blahnik Americas LLC
cr                        Marble Ridge Capital LP
cr                        Marble Ridge Capital LP and Marble Ridge Master Fu
cr                        Marco Bicego USA, Inc.
cr                        Margo Morrison Jewelry Design, Inc.
cr                        Margot McKinney Jewellery
cr                        Martha Perez, c/o Hodge Law Firm, PLLC, 2211 Strand St., Suite 302, Galveston
op                        Matrix Absence Management, Inc., Reliance Standard
cr                        Mericle 325 Research Drive LLC
               Case 20-32519 Document 2139 Filed in TXSB on 12/10/20 Page 8 of 9
District/off: 0541-4                                      User: emiller                         Page 7 of 8
Date Rcvd: Dec 08, 2020                                   Form ID: pdf002                    Total Noticed: 190
cr                        Michael Kors (USA) Inc.
cr                        Moncler USA, Inc.
cr                        Mudrick Capital Management, L.P.
intp                      Neiman Marcus Group, Inc.
cr                        Neva Hall
cr                        New York-New Jersey Regional Joint Board
cr                        Nina Ricci USA, Inc
cr                        NorthPark Partners, LP
cr                        Off White Operating SRL
cr                        Otis Elevator Company
cr                        Paco Rabanne, SAS
cr                        Park Place Technologies, LLC
cr                        Pasquale Bruni (USA), Ltd., c/o Susan C. Mathews, Baker Donelson
intp                      Paul Hastings LLP
cr                        PayPal Inc
cr                        Pension Benefit Guaranty Corporation
cr                        Picchiotti S.R.L.
cr                        Pitney Bowes, Inc.
cr                        Premier Brands Group Holding LLC
cr                        Preston Shephard Retail LP
cr                        Puig USA, Inc
cr                        RTB House Inc
cr                        Ralph Lauren Corporation
cr                        RetailMeNot, Inc
cr                        Richemont North America, Inc. and affiliated brand
cr                        Robert Archer
cr                        SAS Institute Inc.
cr                        Saboo Fine Jewels
cr                        San Marcos CISD
cr                        ShopperTrak RCT Corporation, a division of Johnson
cr                        Sobe Luxury Services LLC d/b/a Gismondi 1754 S.P.A
cr                        Solow Building Company III LLC
cr                        Spinelli Kilcollin, Inc.
cr                        Sunbeam Development Corporation
cr                        Susan Archer
cr                        Sydney Evan
cr                        THREE GALLERIA OFFICE BUILDINGS, LLC
cr                        TPG Specialty Lending, Inc.
cr                        Tamara Comolli Fine Jewelry Limited Inc
cr                        Tata Consultancy Services Limited
intp                      Tayler Bayer
cr                        Teresa Gradidge
cr                        The Apparel Group, Ltd.
cr                        The Boston Consulting Group
cr                        The Irvine Company LLC
cr                        The Macerich Company
crcm                      The Official Committee of Unsecured Creditors
cr                        The Shops at the Bravern LLC
cr                        The Taubman Company LLC
cr                        Tiffany Tran
cr                        Tom Ford International, LLC and Tom Ford Distribut
cr                        Tory Burch LLC
cr                        UMB Bank, N. A
cr                        Unibail Rodamco Westfield
cr                        United States of America
cr                        Verdeveleno, S.L.
cr                        Versace USA, Inc.
cr                        WILMINGTON SAVINGS FUND SOCIETY, FSB
cr                        WVF-Paramount 745 Property, L.P.
intp                      Wendy Yue LLC
cr                        Westwood Contractors, Inc.
cr                        Wilmington Trust, National Association, as Indentu
cr                        Wilson 151 Worth LLC
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District/off: 0541-4                                              User: emiller                                                      Page 8 of 8
Date Rcvd: Dec 08, 2020                                           Form ID: pdf002                                                 Total Noticed: 190
cr                               Wilson 151 Worth, LLC
cr                               Windsor Jewelers Inc.
cr                               Yeprem Jewelry, SARL
db              *+               The Neiman Marcus Group LLC, One Marcus Square, 1618 Main Street, Dallas, TX 75201-4720
aty             ##+              Nathan F Coco, McDermott Will & Emery LLP, 1000 Louisiana Street, Suite 3900, Houston, TX 77002-5035

TOTAL: 185 Undeliverable, 1 Duplicate, 1 Out of date forwarding address


                                                   NOTICE CERTIFICATION
I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Dec 10, 2020                                        Signature:         /s/Joseph Speetjens
